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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

SIGALIT YEHUDA,
                                                             2l-cv-08921 (MGG)
                  Plaintiff,

          v.

JOSSEF KAHLON

                  Defendant/Counterclaim Plaintiff,

          v.

AVRAHAM YEHUDA,

                  C ounterclaim Defendant.




    MEMORANDUM OF LAW IN SUPPORT OF: PLAINTIFF,S MOTION FOR
 CONTEMPT, DISCOYERY SANCTIONS, AND SPOLIATION; AND PLAINTIFF,S
   AND COTINTERCLAIM DEFENDANTS' MOTION FOR JUDGMENT ON THE
 PLEADINGS DISMISSING DEFENDANT'S *SECOND", (FIX'TH" AND "EIGHTH"
                         COUNTERCLAIMS




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                                    Preliminary Statement

       Plaintiff Sigalit Yehuda and Counterclaim Defendant Awaham Yehuda submit this

memorandum of law in support of Plaintiff s motion for contempt, discovery sanctions and

spoliation; and also in support of Plaintiff s and Counterclaim Defendant's motion, pursuant to

Fed. R. Civ. Proc. l2(c), for judgment on the pleadings, dismissing Defendant's "Second", "Fifth'

and "Eighth" Counterclaims.

                                       Statement of Facts

   A. Defendant's Contempt of this Court's August 30.2023 Order
       This motion is the culmination of prolonged and tortuous eflorts to obtain Defendant's

obedience to this Court's August 30, 2023 Order (Torres, J.). That order, inter alia, granted

Plaintiff s cross-motion for summary judgment on her equitable accounting claim for:

              a verified statement of account of [defendant] Kahlon's dealings with [TJM]
              and its property and earnings during the period [from] November 15,2004
              to [the] date the demanded accounting is furnished, including, but not
              limited to, [TJM's]: (1) assets; (2) income, receipts and revenue received or
              accrued; (3) expenses paid or incurred; (4) distributions, dividends, salary,
              compensation or other monies taken or received by Kahlon (or by anyone
              at his direction); and, (5) all payments by [TJM] to third parties for services
              renderedto, orbenefits received by, Kahlon (orto anyone athis direction)[.]

August 30,2023 Order (ECF No. 109) (the "SJ Order").

       Nearly two years, and flrlly three court conferences later, Defendant has yet to provide the

court-ordered accounting for the PlaintifPs and Defendant's company TJ Management, LLC (the

"Company" or "TJM"), despite the SJ Order's unequivocal direction that he do so.

       On October 18,2024 -- almost eighteen months after the SJ Order       - Defendant's counsel
filed a notice claiming Defendant had complied with the SJ Order by producing what the notice

called "relevant financial documents reasonably available to him" (ECF No. 109). However, the

referenced oorelevant financial documents" (none sworn or otherwise verified) consisted only of
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three (3) single-page IRS 1099-Misc. forms and seven (7) single-page IRS Schedule C forms,

which not only lacked most of the information required by the SJ Order but also lacked any back

up documents or other substantiation.

        Although Defendant's assemblage of these documents came nowhere near satisffing his

obligations under the SJ Order, in the hope of avoiding the burden on the Court and expense to the

parties of contempt proceedings, on December 10, 2024, PlaintifPs undersigned counsel emailed

a letter to Defendant's then counsel, Minyao W*g, Esq., notifying him of salient deficiencies in

Defendant's "accounting". A copy of the December 10, 2024letter is attached as Ex. A to the

accompanying Declaration of Steven R. Haffrrer, dated May 13, 2025 ("Haffiter Decl."). The letter,

in pertinent part, stated:

            I could write a long letter identifying all of the deficiencies in
            Defendant's "accounting" However, a cursory review reveals that
            missing required documents and information, at a minimum, include the
            company's: (1) monthly and yearly brokerage statements; (2) bank
            account statements; (3) ledgers; (4) profit and loss statements; (5)
            balance sheets; (6) reconciliations; (7) credit card statements; (8) asset
            schedules; and (9) annual schedules of expenses incurred and paid. Also
            missing are verified statements of the annual distributions, dividends,
            income or other compensation taken or received by Defendant, together
            with back-up including complete tax returns with accountant
            worksheets. Notably, also missing is any information for the periods
            2004 through2007 and 2018 to present

            Although it appears your client's noncompliance was intentional, giving
            him the benefit of the doubt, I propose we write to the Court tomorrow
            requesting an extension to allow Defendant to complete his accounting.

            Unless I hear by noon tomorrow that Defendant is serious about
            complying with the Order, Plaintiff will file tomorrow her objection
            addressed to Defendant's failtre to provide the court ordered accounting
            and I will write to the Judge requesting a conference to discuss a motion
            for contempt. I hope that will not be necessary.

        Following receipt the next day of Defendant's unsatisfactory response to this letter,

Plaintiff filed her Objections to Accounting ("Points of Objection") on December 11,2024 (ECF


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No. 111) (Haffirer Decl., Ex. B). The Points of Objection once agarnnotified Defendantr of his

obligations under the SJ Order and, in 14 enumerated provisions, detailed the specific deficiencies

of Defendant's purported accounting (Ex. A to Points of Objection, Ex. B to Haffner Decl., ECF

No. 111). Among the many deficiencies identified were the absence of: (i) a verified statement

based on the Company's financial statements and records, including its profit and loss statements,

balance sheets, ledgers, and its bank, brokerage and credit card statements; (ii) a schedule of annual

expenses; (iii) a statement of capital contributions; (iv) a schedule of assets; and (v) a verified

statement of arurual distributions, income or other compensation taken or received by Defendant.

PlaintifPs Points of Objection also alerted Defendant that the little he actually produced omitted

all documents and information for the period 2004 through2007 and 2018 through October 13,

2024 (date of his purported accounting).

    B. Defendant's Disobedience of this Court's Conference Orders and Dfuectives
        Defendant was again notified, this time by the Court at the January 10,2025 conference in

*ris case, of his "gross noncompliarLce" with Judge Torres' SJ Ordef. See January 10,2025

Transcript (1110125 Tr.) 20:1-3 (ECF No. 117) (Haffner Decl., Ex. D).

        Rather than schedule contempt proceedings, however, the Court, "out of an abtrndance of

grace", af[orded "Mr. Kahlon 30 days to produce in whatever form and under what auspices they

exist any documents that he has or can get access to that can satisfy the five categories set forth in

the complaint . . . that was ordered by Judge Torres." 1d.,26:8, 14-19 . Also at that conference, the


I Six months earlier, on May 18,2024,and in response to a request from the Court, the trndersigned
sent Mr. Minyao an email, explaining in detail, with citation to New York Court of Appeals
authority, how Plaintiff expected the Court would handle the equitable accounting. Haffner Decl.,
Ex. C.
2
  Notably, your Honor also directed Defendant ooto file a verified statement of accounting and any
supporting documents" in your Order dated May 29,2024, following the May 28,2024 Conference
in this case. (ECF No. 102).
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Court further ordered Defendant to provide, within 31 days, a sworn affidavit explaining in detail

with respect to any required doquments not produced, what efforts Defendant made to find or
            I


obtain them and what happened to them. 1d.,26:24-25,27:l-13. Further, the Court wamed

Defendant's counsel @avid H. HaO "to make crystal clear to your client that the next step is a

contempt judgment ...." Finally, the Court directed Mr. Haft to inform Defendant "that if the

materials have not been produced, he is required to appear in person atthat conference ." 1d.,28: I 8-

21.To all this, Mr. Haft replied:

                That's fine your Honor. I understand your Honor's ruling, and I will
                begin immediately putting that together for my client and we will
                comply with your Honor's order without question. 1d.,30:24-25,
                3 l:1-3


       In disregard ofthis Court's admonitions and in dishonor of his representations to the Court,

IVft. Haft appeared atthe February 25,2025 court conference without having produced documents

and information satisfying the five categories set forth in the complaint and also without having

submiued an affidavit providing anything close to a sufficient accounting for the missing

documents and information. In further violation of Your Honor's direction at the January 10,2025

conference, counsel also appeared without Mr. Kahlon. Finally, Defendant also failed to produce

any documentationdisclosing "whatthe $10 millionwas for."See Transcript ofFebruary 25,2025

Conference ("2-25-25 Tr.") (ECF No. 128) (Haffirer Decl., Ex. E); 2-25-25 Tr. 13:8-13.

       In fact, putting aside Defendant's failure to include a verified statement of accounting, the

February 25,2025 Conference revealed that his ooSupplemental Production", served after the

January 10,2025 Conference (Haffner Decl., Ex. F), failed to include even a single brokerage3,



3
  Also, conspicuous only by absence are the Company's brokerage and money market statements
for 2011, the year when Defendant alleges he "closed ouf'those accounts because of the SEC
investigation. Those statements would show the Company's trading caprtal in those accounts when
Defendant closed them in 2011, which was at least one year after the Company's mid-2010
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bank, or credit card statement, profit and loss statement, balance sheet or ledger, all of which were

needed to veriff the numbers appearing in the incomplete Schedule C's provided.2-25-25 Tr. 8:

6-14. Also lacking were Defendant's 2005 through 2008 Schedule C's, as well as any documents

or information providing a breakdown or verification of the information appearing on the Schedule

Cs Defendant did manage to produce.

       Among the Court's specific findings and rulings made at the February 25, 2025

Conference, were the following:

Kahlon ffidavit

               -- the affidavit does:r't even begin to cover the things that I directed you
               to cover in January. 2-25-25 Tr. 20:11-13

Source of $10 Million Paymentfor the Ledbetter Property

               -- now we're going on multiple court orders to provide documentation
               that satisfactorily explains the source of the $10 million payment and
               what happened to it. ld.74:l-4
                                                   {.{<{<

               ... I could not possibly have been clearer in January, and my directive
               culme, as Mr. Haffner pointed out, a year and a half after Judge Torres
               also was very clear in directing that an accounting of the $10 million,
               where it came from and what happened to it be provided.Id.l5:.7-12

Defendant's Repeated Violations of Both the SJ Order and this Court's Orders

               Mr. Haffrrer, I'm certainly open to and would welcome a contempt
               motion on your part, as well as whatever other motion in terms of
               proceeding to some kind ofjudgment in this maffer based on the entirely

distribution to Plaintiff, which Defendant admits (and his 1099s show) was its last distribution to
Plaintiff. Nor did Defendant provide any other documents or information disclosing the
Company's balances in those accounts when Defendant closed them in 20ll or what Defendant
did with those fi.rnds thereafter. Since the Company would have been required to maintain
substantial trading capital to complete the enormous volume of low profit trades of these non-
marginable "penny stocks" which would have been necessary to generate the trading profits in
excess of $6,000,000.00 the Company reported for 2010, the inescapable inference is that
Defendant's continued refusal to produce these statements has been intenti onal. 2-25-25 Tr. 7 :12-
18.




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              insfficient participation of the defendant and repeatedviolation of both
              Judge Torres' and my orders. Id. 16.5-10 (emphasis added)
                                                 ,F*{<

               ... circumstances certainly provide you with the basis to make a
               motion of that type.Id.l8:4-5

       This motion ensued.

                                          Argument

                                            POINT I

 DEFENDAI\T'S X'LAGRANT DISOBEDIENCE OF JUDGE TORRES' SJ ORDERAND
I\UMEROUS OF'TIIIS COURT'S EXPLICIT ORDERS AND DIRECTIVES GIVEN HIM
  AT THE LAST TWO COURT CONFERENCES TRANSCRIBED AND ENTERED ON
              TITE DOCKET WARRANT CONTEMPT SANCTIONS

       1. Legal Standard
       Both under statute and a federal district court's inherent power to manage its affairs, this

Court has the power to hold a party in civil contempt to enforce, compliance with its orders and to

compensate aparty injured by another's contempt. 18 U.S.C. $ a01; Stftung v. Sumitomo Corp.,

88 Fed. Appx. 443,444 (2d Cir. 2004). Contempt orders and awards are reviewed under the abuse

of discretion standard, though more rigorots. Southern New Eng. Tel. Co. v. Global NAPs Inc.,

624F.3d123,143-45 (2dCir.2010).Aparty may be found in civil contempt and sanctioned for

failure for his failure to comply with a court order if "(1) the order is clear and ambiguous; (2)

proof of noncompliance is clear and convincing; and, (3) the contemnor has not diligently

attempted to comply in a reasonable mannel" Poramedics Electrornedicina Comercial, Ltda. v.

GE Med. Sys. Info. Tbchs., Inc., 369 F.3d 645, 655 (2d Cir.2004) (quoting King v. Allied Wsion,

Ltd.,65 F.3d 1051, 1058 (2d Cir. 1984).

       Moreover, where a party's discovery recalcitrance reaches the point where it has prevented

plaintifffrom presenting evidence on an issue material to the prosecution of her action, the court


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may deem the issue established in accordance with the plaintiff's claims. Daval Steel Products,

Div. of Francosteel Corp. v. I[/V Falcredine,95l F.2d 7357, 1366-68 (2d Cir. 1991).

       2. Analysis
       As plainly obvious and repeatedly and correctly noted by this Court at the court

conferences in this matter (Haffrrer Decl, Exs. D and E): (1) the SJ Order and this Court's

conference orders were clear and unambiguous; (2) proof of Defendant's gross noncompliance is

clear and convincing; and (3) Defendant contemnor has not diligently attempted to comply in a

reasonable manner and, in fact, repeatedly continued his utter disregard and disrespect of this

Court's orders after it generously afforded him numerous opportunities to comply. See also

discussion supra at pp. 1-6.

           A. Plaintiff's Claims to Judgment Against Defendant Based on a "Truing-Up" of
               Defendant's Excess Distributions Taken from the Company's 2008 through20ll
               Trading Profits Should Be Deemed Established

       Also obvious considering the record of this motion, Defendant deliberately endeavored

and, in fact, has prevented an adjudication on the merits of Plaintiff's accounting claim. Nor is

there any question that the discovery orders violate and the sanction sought relate to Plaintiff's

accounting claim against Defendant for his inequal distributions to her of TJM profits. Daval Steel

Products, supra,951 F.2d at 1366.In these circumstances, Plaintiff is entitled to an order taking

as established her claim whose proper adjudication Defendant deliberately frustrated and

precluding Defendant from introducing contrary evidence. Id. at1367.

       Because Defendant had exclusive control over TJM's finances and Plaintiff relied on his

distributions to her as accurate representations of her one-half interest in the net profits of the




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Companya, Defendant's refusal to account has rendered determining an award of specific damages

problematic. Fortunately, however, Defendant's 2010 Schedule C (Haffirer Decl, Ex. F), though

sparse, together with Defendant's 2008 and 2009 1099's, provide a sufficient basis for liquidating

Plaintiff's accounting claim for Defendant's excess distributions taken from the Company's trading

profits for the years 2008 through 20ll,totaling at least $7.7 Million dollars.

       Line I of Defendant's 2010 Schedule C reports TJM's gross profits derived from gross

receips of $11,110,512,less $4,420,343 reported on line 4 as "cost of goods sold". However, the

only identification of this exceedingly large "costs of goods" figure is given on the second page

on line 39 as "other costs." Given Plaintiffreceived a1099 in 2010 for $2,200,000 and a 1099 is a

deductible expense, it follows that at least $2,200,000 of the $4,420,343 figure were not operating

expenses. Also not credible and evidently fabricated is Defendant's reported $2,220,343 balance

of reported but unnacounted for "other costs" ($4,420,343-$2,200,000:$2,220,343). Over two

million in annual costs is not ordinary and necessary for a business that trades penny stocks. Thus,

absent verification, the deduction must be disregarded even without a contempt or discovery order.

       Applying the above analysis, TJM's net income was $11,110,512, entitling Plaintifl as a

50% member, to a $5,555,256 2010 distribution. Since Defendant distributed only $2,200,000 to

Plaintifl as reported by Defendant's 2010 1099, Plaintiff s accounting claim against Defendant

for 2010 alone is $3,355,256 ($5,555,256 - $2,200,000).

       Next, although Defendant failed to produce his 2008 ard2009 Schedule Cs, he did produce

the 1099's issued to Plaintiff showing distributions to her for those years. Given Defendant's



4 o'The availability of such a sanction is particularly important when, as here, the very material
sought to be discovered ... will normally be in the possession of a defendant and will frequently
be unknownto aplaintiff." Update Art, Inc. v. Modiin Publ'g, Ltd.,843F.2d67,72 (2d Cir, 1988)
(quoting Campagnie des Bauxites de Guinea v. Insurance Co. of N. Am.,65l F.zd 877, 885 (3d
Cir. 1981).
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refusal to account, Plaintiff s accounting claims for underpaid 2008 and2009 distributions may be

determined by extrapolating the underpayment ratio in 2010. Applying the 2010 ratio, Plaintiffs

2009 $1,700,000 distribution (reported in Defendant's 1099 issued to her) supports an accounting

claim for that year of $2,590,611. By the same metric, PlaintifPs 2008 $1,176,300 distribution

(reported by Defendant's 2008 1099 issued to her) supports an accormting claim for that year of

S1,792,550. In addition, Plaintiff is entitled to an accounting claim for 2011 of approximately

$500,000s, representing 50% of TJM's profits for that year ($1,130, 954 minus normal and

customary expenses had Defendant documented them) as reported by Defendant's 2011 Schedule

C. (ECF No. I I 1-1 at p. 7). While extrapolation is not as certain as calculations based on verifiable

books and records as managing member of TJM, Defendant was legally obligated to maintain

accurate books and records until dissolution.

        Since Defendant is now alleging he does not have those records, "all 'obscurities and

doubts' created by the failure to keep clear and accurate records are to be resolved adversely to

hrm. Polish Am. Resource Corp. v. Byrczek, 270 A.D.2d 96 (1't Dept. 2000) (quoting White v.

Rankin,18 A.D. 293,295 (2d Dept. 1897).

                                              POINT II

SINCE DEX'ENDANT' S PATTERN OF PERSISTENT, DELIBERATE AND PROLONGED
DISREGARD OX'THIS COURT'S CONFERENCE ORDERS AND OTHER DISCOYERY
CONDUCT HAS PREVENTED DISCLOSURE OF FACTS ESSENTIAL TO ATI
ADJT]DICATION ON THE MERITS OF PLAINTIFF'S CLAIMS, SEYERE DISCOYERY
SANICTIONS ARE JUSTIF'IED

        1. Legal Standard




s
  Defendant's 2011 Schedule C TJM income contradicts repeated representations by his counsel
at court conferences that following the 2010 SEC investigation TJM no longer had trading profits.




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       It is well settled courts have broad discretion in the discovery context to impose sanctions

against parties who have persistently and flagrantly failed to prosecute a matter and participate in

discovery in good faith, including dismissal of the party's pleadings and an award of reasonable

attorneys'fees. In addition, Fed. R. Civ. Proc. Rule 37(b)(2), (bX2XC) and (aXaXA) address those

costs (attorneys' fees) incurred as consequence ofa party's failure to obey a court order.

           A. Appropriate Sanctions
       Since a more brazen pattern of disobedience with discovery orders would be difficult to

come by, this Court is well justified in dismissing Defendant's counterclaims based on his

numerous serious and flagrant violations of discovery orders. John B. Hull, Inc. v. Waterbury

Petroleum Products, Inc., 845 F2d 1172, 1175-77 (2d Cr. 1988). Moreover, the sanction

dismissing Defendant's counterclaims is particularly justified in this case because, after pressing

for a jury trial of his counterclaims, four weeks before that trial Defendant had not produced the

very documents he would have needed at the trial. As the Court noted at the January 25,2025

Conference:

       - obviously, we're not having atnal on February 10 because I have no idea
       what evidence would possibly be presented to the jury because certainly no
       evidence that could support the counterclaims has been produced, as far as I am
       aware. ll25l25 Tr.,26:8-13; and also 13:20-25

       Likewise justified is an award in favor of Plaintiff in the amount of her attorneys' fees

incurred attending additional conferences necessitated by Defendant's misconduct and the

preparation of this motion6. National Hockey League v. Metropolitan Hockey Club,427 U.S. 639,

643,49 L. Ed. 2d747,96 S. Ct. 2778 (1976) (*... monetary sanctions serve to encourage litigants




6
  Plaintiffrespectfully requests that her counsel be permitted to submit an application for attorneys'
fees following full submission of this motion.

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and their counsel to promptly comply with discovery orders at the risk of being penalized for

disobedience").

                                            POINT III

 DEF'ENDAIIT'S COUNTERCLAIMS AGAINST HIS CO.MEMBER SOUNDING IN
CONTRIBUTION ARE NOT ACTIONABLE AND THEREF'ORE MUST BE DISMISSED
                AS A MATTER OF LAW UNDER FRCP lz(C)

       If not dismissed for his gross discovery misconduct (see supra, pp. 1-6), Defendant's
"second", "fifth" and "eighth" Counterclaims sounding in contribution must be dismissed as a

matter of law on the face of Defendant's pleading.

        1. Legal Standaxd
       The standard for granting a Rule 12(c) motion for judgment on the pleadings is identical to

that of a Rule 12(b)(6) motion for failure to state a claim, except the former is made after the close

of pleadings. In both postures, the district court must accept all allegations as true and draw all

inferences in the non-moving party's favor. 'oJudgment on the pleadings is appropriate if, from the

pleadings, the moving party is entitled to judgment as a matter of law." Burns Int'l Sec. Servs. Inc.

v. Int'l Union United Plant Guard Workers of Am. , 47 F.3d 14, 16 (2d Cir. 1995).


       2. Analysis
           A. No Claim for Contribution LiesAgainst a Co-Member of aNewYork LLC
        Contrary to Defendant's assertions, New York law bars suit against a co-shareholder

shareholder for contribution. See NY LLC Law $ 609(a) ("[No] member of a limited liability

company. . . is liable for any debts, obligations or liabilities of the limited liability company or

each other, whether arising in tort, contract or otherwise, solely by reason of being such

member[.]"); Grammas v. Loclatood Assocs., Ltd.,95 A.D.3d 1073, lO74 (2'd Dept. 20t2) (*A

member of a limited liability company cannot be held liable for the company's obligations by



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virhre of his or her status as a member thereof."). Indeed, this Court (Torres, J.) already so held in

the SJ Order, pp. 6-8 (ECF No. 82).

       Accordingly, Defendant's o'second", "fifth" and "eighth" counterclaims, all seeking

contribution must be dismissed as a matter of law.

                                            Conclusion

       For the foregoing reasons, the Court should grant Plaintiff's and Counterclaim Defendant's

motion for contempt, discovery sanctions and related relief and such other and further relief as

may be appropriate.

Dated: May 13,2025

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